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Mickey Jones FEB 1 5 2018 .(
Homeless ,
Tempe, Arizona GLERK U 8 DISTRACT. COURT
STRICT OF ARIZONA
my DISTRICT OF MMS DEPUTY |

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Plaintiff, In Pro Per
In the United States District Court

In and for the District of the State of Arizona

Mickey Jones - Plaintiff #1

COMPLAINT
Plaintiffs, (Jury Trial Demanded)
vs.

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Safer Arizona -— Defendant #1 )
David Stephen Wisniewski ~ Defendant #2 )
Michelle Westinfield - Defendant #3 )
Zachary Ocker - Defendant #4 )
Rain Baker - Defendant #5 )
Gregory Fox — Defendant #6 )
Eric Johnson — Defendant #7 )
Alex Gentry —- Defendant #8 )
Patricia Pantel - Defendant #9 )
Catalina S Vargas - Defendant #10 )
Manuel Chavez TTT - Defendant #11 )
Tom Dean ~ Defendant #12 )
Robert W Clark —- Defendant #13 )
)

)

Defendants

COMES NOW the Plaintiff, Mickey Jones, and for his complaint
alleges and avers as follows.

I. JURISDICTION AND VENUE

1. Jurisdiction is conferred upon the Court under 17 U.S.C. § 1331
and 17 U.S.C. § 1983.

2. Venue is proper in this District Court as all but one of the
Defendants are believed to reside within this district and all acts
alleged occurred within this District

It. PARTIES

3. Plaintiff is Mickey Jones, a man who lives in Maricopa County

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4. Defendant #1 is Safer Arizona, a DBA name for a political action
group

5. Defendant #2 is Sergeant David Stephen Wisniewski, a man who lives in
Maricopa County.

6. Defendant #3 is Michelle “Mushee” Westinfield, a woman who lives in
Maricopa County.

7. Defendant #4 is Zachary Ocker, a man who lives in Maricopa County.

8. Defendant #5 is Rain Baker, a woman who lives in- Maricopa County.

9. Defendant #6 is Gregory Fox, a man who lives in Maricopa County.

10.Defendant #7 is Eric Johnson, a man who lives in Maricopa County.

11.Defendant #8 is Alex Gentry, a man who lives in Maricopa County.

12.Defendant #9 is Patricia Pantel, a woman who lives in Maricopa
County.

13.Defendant #10 is Catalina S Vargas, a woman who lives in Maricopa
County.

14.Defendant #11 is Manuel Chavez TTT, a man who lives in Maricopa
County.

15.Defendant #12 is Tom Dean, a man who lives in Maricopa County.

16.Defendant #13 is Robert W Clark, a man’who lives in Pima County.

III. GENERAL STATEMENT

17. The Plaintiff spent about 160 or so hours writing web based
software to keep track of workers in the Safer Arizona group and track
petitions and signatures collected for Safer Arizona.

18. If the Defendants went to a commercial firm it would not have
been unreasonable for the firm to charge them $100 an hour for the
software or $16,000. The Plaintiff suspects that it would have cost
much more then that $16,000 if the Defendants were to hire commercial

software firm to produce the software.

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19. Per Federal software law in Title 17, the Plaintiff has 100%
ownership of the software. None of the Defendants own the software or
wrote the software.

20. The Plaintiff wrote the software for free was under the
impression that the Safer Arizona initiative would call for pretty much
100% legalization of marijuana, with a few minor exceptions. These
exceptions were an age limit, labeling requirements, testing
requirements and a small sales tax.

21. The Plaintiff would have never agreed to write the software, if
he had known Defendant #12, Tom Dean was going to turn the initiative
into a “jobs program” for marijuana criminal defense attorneys, or a
“jobs program” for lawyers who make money helping the legal medical
marijuana cartel, turn itself into the legal recreational marijuana
cartel.

22. The Plaintiff suspects that Defendant #2 and #11, Sergeant David
Stephen Wisniewski and Manuel Chavez III conspired to steal the
software which was worth at least $16,000 from the Plaintiff and use it
after the Plaintiff was kicked off of the Safer Arizona board of
directors and group.

23. When the Plaintiff was kicked off of the Safer Arizona board of
directors, Defendant #2 lied and said he could continue his work as a
webmaster. But the Plaintiff believes Defendant #2 ordered Defendant
#11 to lock the Plaintiff out of the Safer Arizona website by changing
the passwords.

24. The Plaintiff asked Defendant #11, to give him a password so he
could delete the software the Plaintiff owned, and delete the SQL
tables created and owned by the Plaintiff.

25. According to Facebook posts from Defendant #11, Defendant #2,

ordered Defendant #11, not to let the Plaintiff back in.

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26. From comments Defendant #11, made, the software may have been
over his head and he probably was not able to get it working.

- 27. The Plaintiff suspects this software may have been moved to one
of Stacy Theis’s websites to keep the Plaintiff from finding it.

28, While the software was functionally working, it did need to have
a routine written to edit any and all fields of the user data.

29. The Plaintiff would have been able to write that software ina
week or sO.

30. For somebody like Defendant #11 who had not designed the
software it would have taken much longer. That is because Defendant #11
would have to reverse engineer the system and figure out how it worked,
before writing the editing software.

31. After the Plaintiff was kicked out of Safer Arizona, Defendant
#8, Alex Gentry asked some questions about the software, and even
posted a picture of him using the software. That makes the Plaintiff
think Safer Arizona was trying to get the software working and using
the software.

32. Another person messaged the Plaintiff with a message that seemed
to say Safer Arizona was trying to get the software working. And seemed
concerned the Plaintiff may have put hooks in the software to monitor
its use and/or disable it.

33. The Plaintiff isn’t sure if the Defendants were successful at
stealing the software from the Plaintiff.

34. Under Federal copyright law, it is illegal for the Defendants to
use the software without permission and consent of the Plaintiff. The
Plaintiff has never given Safer Arizona permission or consent to use
the software. The Plaintiff thinks Title 17 of the USC is the

copyright law.

IV. FIRST CAUSE OF ACTION

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Illegal use of Plaintiffs Software

35.The Plaintiff incorporates by reference the allegations contained
in paragraphs 1 through 34 of this complaint as if fully set forth
herein.
36. Per Federal law it is illegal for the Defendants to use or
modify the Plaintiff's software without the consent of the Plaintiff.
37. The Defendants seemed to have wanted to steal the Plaintiff's
software after kicking him out of Safer Arizona and use the Plaintiff's
software without his permission.
38. By using the Plaintiff's software without the Plaintiff's
consent the Defendants are violating Federal copyright law.
WHEREFORE the Plaintiffs respectfully requests that this Court: -
A. Proceed with a trial by jury upon issues so triable; and,
B. If the Defendants tried to steal, use, or modify the
Plaintiff's software order them to pay the cost of writing it; and
C. Order the Defendants not to use, sell or give away the software
and SQL files; and
D. Allow the Plaintiff destroy the software and SQL files on all
the Defendants websites; and
E. Award the Plaintiff's costs and fees incurred for the
prosecution of this action;
F. Award such other and further relief as the Court deems just and
proper.

RESPECTFULLY SUBMITTED this 14 day of February, 2018

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Mickey Jones
Homeless

Tempe, Arizona

Plaintiff, In Pro Per

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VERIFICATION

I, Mickey Jones verify under penalty of perjury under the laws of
the United States of America, that I am the Plaintiff herein, that I
have read the foregoing Complaint, and that the same is true and
correct that, based upon my knowledge, information, and belief, it is
well-grounded as fact, is warranted by existing law or a good-faith
argument for the extension, modification, or reversal of existing law,

and is not interposed for any improper purpose.

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Dated February 14, 2018 F-£B iY, 2o0(9

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Mickey Jones.

